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               Ethan Lindner
               1507 Hawks Meadow
               San Antonio, TX 78248
               January 3, 2024

               Hon. William G. Young
               United States District Judge
               United States Federal Courthouse
               1 Courthouse Way
               Boston, Massachusetts 02210

               Re: Matthew Jordan Lindner

               Your Honor,

               I hope this letter nds you in good health and high spirits. I am writing to you today with utmost
               respect and humility to advocate for my brother, Matthew Lindner, who is currently facing
               sentencing in your esteemed court.

               First and foremost, I would like to express my gratitude for the opportunity to address you
               directly. As a re ghter and peace o cer with 28 years of experience, I have dedicated my life
               to protecting and serving my community. I understand the importance of upholding the law and
               ensuring justice is served. It is with this understanding that I humbly request your leniency in
               Matthew's case.

               Matthew Lindner is not just my brother; he is a compassionate and kind-hearted individual who
               has always been there for those in need. Growing up, Matthew consistently demonstrated his
               commitment to protecting others, whether it was standing up against bullies or lending a
               helping hand to those less fortunate. His sel essness and genuine concern for others have
               always been his de ning qualities.

               In addition to his role as a protector, Matthew has also been actively involved in coaching
               children and teaching youth how to hunt. He has dedicated countless hours to mentoring and
               guiding young individuals, instilling in them the values of responsibility, respect, and
               sportsmanship. Matthew's dedication to shaping the lives of these young individuals is a
               testament to his character and his desire to make a positive impact on the community.

               Furthermore, Matthew is a loving and devoted father to his two children. He has always
               prioritized their well-being and has been actively involved in their lives. Matthew's role as a
               father has been marked by love, support, and guidance, and he has consistently demonstrated
               his commitment to being a positive in uence in their lives.

               In addition to his commitment to his family and the community, Matthew has also been a pillar
               of support for our aging parents. As they have grown older, Matthew has been there to assist
               them with various tasks and provide them with the care and attention they need. His dedication
               to our parents is a re ection of his character and his willingness to go above and beyond to
               help those he loves.

               While I understand that Matthew has made mistakes, I rmly believe that these actions do not
               de ne his character. The circumstances surrounding his current situation do not accurately
               re ect the person he truly is. Matthew has shown remorse for his actions and is committed to
               making amends and becoming a better person.
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               Your Honor, I implore you to consider Matthew's positive attributes and the potential for
               rehabilitation. Sentencing him to a lighter punishment would not only allow him the opportunity
               to learn from his mistakes but also to continue his role as a father and mentor to others.
               As a re ghter and peace o cer, I have witnessed rsthand the transformative power of
               second chances. I have seen individuals who have made mistakes turn their lives around and
               become pillars of their communities. I have faith in Matthew's ability to do the same.

               In conclusion, Your Honor, I respectfully request that you consider the person Matthew truly is
               and the potential for his redemption. I believe that a lighter sentence would not only be just but
               also provide him with the opportunity to rebuild his life and continue making a positive impact
               on the lives of others. Thank you for your time and consideration.

               Sincerely,


               E    an Lindner


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